                Case 2:22-cv-00214-RSL Document 14 Filed 05/09/22 Page 1 of 4




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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9
     TONDA FERRANDO and DEX MARZANO,                Case No. 22-cv-214-RSL
10   individually and on behalf of all others
     similarly situated,
11
                       Plaintiffs,                  STIPULATED MOTION AND ORDER
12                                                  STAYING CASE PENDING FILING OF
           v.                                       MOTION FOR PRELIMINARY
13                                                  APPROVAL OF CLASS ACTION
     ZYNGA INC., a Delaware corporation,            SETTLEMENT
14
                       Defendant.
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     STIP. AND ORDER STAYING CASE               1
                                                                              E DELSON PC
                                                             350 N LaSalle Street, 14th Floor, Chicago, IL 60654
     CASE NO. 22-CV-214-RSL                                       Tel: 312.589.6370 • Fax: 312.589.6378
               Case 2:22-cv-00214-RSL Document 14 Filed 05/09/22 Page 2 of 4




 1                                STIPULATED MOTION FOR STAY
 2          During the Parties’ May 4, 2022 in-person, full-day mediation before the Hon. Layn R.
 3   Phillips (Ret.) of Phillips ADR, see Dkt. #12, the Parties reached a binding agreement in principle
 4   to settle this case on a class action basis. Among other provisions, the agreement provides for:
 5                 The establishment of a $12 million non-reversionary settlement fund;
 6                 A release of claims by settlement class members who do not timely exclude
 7                  themselves from the settlement; and
 8                 Prospective measures.
 9          In order to provide the Parties sufficient time to reduce their agreement to a complete class
10   action settlement agreement, and to provide Plaintiffs sufficient time to prepare a motion for
11   preliminary approval, the Parties jointly seek a stay of this case through June 3, 2022, by which
12   time the Parties anticipate that Plaintiffs will have filed preliminary approval papers.
13          Consequently, pursuant to Local Civil Rule 10(g), the Parties respectfully request that the
14   Court grant this stipulation and enter the attached Proposed Order.
15

16          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
17

18          DATED this 6th day of May, 2022.
19

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      STIP. AND ORDER STAYING CASE                     2
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              Case 2:22-cv-00214-RSL Document 14 Filed 05/09/22 Page 3 of 4




 11

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      STIP. AND ORDER STAYING CASE          3
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 1                                               ORDER
 2          Pursuant to Stipulation, this case is STAYED for all purposes, except for any third-party
 3   discovery necessary to effectuate the proposed settlement, through June 3, 2022.
 4

 5          IT IS SO ORDERED.
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 7          DATED this 9th day of May, 2022.
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                                                         ROBERT S. LASNIK
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                                                         UNITED STATES DISTRICT JUDGE
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      STIP. AND ORDER STAYING CASE                   4
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